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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                  BENTON DIVISION

 EQUAL EMPLOYMENT                                   )
 OPPORTUNITY COMMISSION,                            )
                                                    )        Case No. 3:11-cv-00879-JPG-PMF
                          Plaintiff,                )
                                                    )        CJRA TRACK: D
                          v.                        )        PRESUMPTIVE TRIAL MONTH
                                                    )        July 2013
 MACH MINING, LLC,                                  )
                                                    )         JUDGE: J. Phil Gilbert
                          Defendant.                )
                                                    )

   PLAINTIFF EEOC’S MOTION FOR SUMMARY JUDGMENT ON DEFENDANT’S
             FAILURE TO CONCILIATE AFFIRMATIVE DEFENSE

         In this sex-based failure to hire case, Defendant Mach Mining, LLC – which has never hired a

 single female for a mining-related position – asserts a “failure to conciliate” affirmative defense. With this

 defense, Mach claims that EEOC’s efforts to obtain a conciliation agreement prior to filing this

 lawsuit were inadequate and thus that EEOC’s suit should be dismissed in its entirety. Mach’s

 “failure to conciliate” affirmative defense assumes that EEOC’s administrative conciliation process

 is subject to judicial review. But, relying on case law decided under the Administrative Procedures

 Act (“APA”), the Seventh Circuit’s decision in EEOC v. Caterpillar, 409 F.3d 831, 833 (7th Cir.

 2005), compels the conclusion that EEOC’s conciliation efforts are not subject to judicial review.

 The Seventh Circuit in Caterpillar held that the court was required to accept the finding contained in

 the agency’s Letter of Determination, and there is no reason to think that conciliation is any

 different: thus, the court must accept that the agency offered conciliation as represented in its Letter

 of Determination and that conciliation failed as outlined in its Notice of Failure of Conciliation.

 Under Caterpillar, no further examination is needed or permitted. And, the statutory language of

 Title VII itself commits the conciliation process to the agency’s discretion, stating conciliation is i)



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 “informal;” ii) “confidential;” and iii) intended to result in an agreement “acceptable to the

 Commission.”

         Further, judicial review of EEOC’s conciliations would have the practical effect of

 distracting the court from the merits issue of whether the employer engaged in the alleged

 discrimination. Although Mach (which did not even have a women’s bathroom on its mining

 premises) might prefer to avoid the merits, it is precisely the merits question that Title VII leaves to

 the court – not the adequacy of the agency’s pre-litigation administrative process. Because Mach is

 using its “failure to conciliate” affirmative defense to affect the scope of discovery and because

 EEOC’s Letter of Determination and Notice of Failure of Conciliation show that EEOC put Mach

 on notice that EEOC found Mach violated Title VII with respect to both the Charging Party and a

 class of female applicants, EEOC moves for summary judgment now on Mach’s “failure to

 conciliate” affirmative defense.

                                          FACTS
         A.      Conciliation – EEOC’s Administrative Process

         No later than March, 2008, Brooke Petkas filed a charge of discrimination against Mach

 alleging that it failed to hire her because of her sex. See Exhibit A, attached. On September 17,

 2010, EEOC issued a Letter of Determination (“LOD”) regarding Petkas’s charge. The LOD stated

 that the EEOC had found reasonable cause to believe that Mach “discriminated against Charging

 Party and a class of female applicants, because of their sex, in that Respondent failed to recruit and

 hire them, in violation of Title VII.” The LOD also invited Mach to engage in conciliation, stating,

 “When the Commission finds that violations have occurred, it attempts to eliminate unlawful

 practices by informal methods of conciliation. Therefore, I invite the parties to join with the

 Commission in a just resolution of this matter.” See Exhibit B, attached. Thereafter, the parties

 engaged in informal attempts at conciliation.



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         On September 15, 2011, EEOC wrote to Mach to inform the Company that conciliation had

 failed. In this letter EEOC stated:

         The Equal Employment Opportunity Commission has determined that, with respect
         to the above referenced charge, such conciliation efforts as are required by law have
         occurred and been unsuccessful. This letter constitutes the notice required by
         §1601.25 of the Commission’s Regulations which provide that the Commission shall
         notify a respondent in writing when it determines that further conciliation efforts
         would be futile or non-productive. See Exhibit C, attached.

         B.      Conciliation – An Issue in Litigation

         Defendant has raised EEOC’s conciliation efforts in its Answer and has sought extensive

 discovery related to conciliation and the scope of EEOC’s investigation. Defendant’s third

 affirmative defense seeks dismissal on the basis of EEOC’s failure to conciliate, stating, “Further

 answering, Defendant states Plaintiff’s Complaint must be dismissed because Plaintiff failed to fulfill

 all conditions precedent before filing suit, including but not limited to, conciliating in good faith the

 allegations at issue herein.” See Docket Document 10.

         On May 26, 2012, Defendant served on EEOC 44 sets of requests for the admission of

 facts, totaling 696 requests in all. See Docket Document 25. Each set was directed at a specific

 EEOC claimant, and 43 of them were identical except for the claimant’s name. These 43 identical

 sets of requests each contained 16 individual requests; of these, 15 were directed toward actions

 taken (or not taken) by EEOC during its investigation or during conciliation. For example, request

 number 2 asks, “Admit that as of September 17, 2010 [the date of the Letter of Determination],

 EEOC had not determined that the “class of female applicants” (as referenced in the Letter of

 Determination) specifically included [Claimant Name].” Request number 10 asks, “Admit that as of

 September 27, 2011 [the date EEOC filed the Complaint], EEOC had not disclosed [Claimant

 Name]’s estimated back wages to Mach.”

         Mach has served EEOC with a Rule 30(b)(6) Notice of Deposition (Exhibit D, attached).

 Three of the Notice’s sixteen topics (topics 7-9) deal explicitly with EEOC’s conciliation efforts.
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 For example, topic 9 reads, “The substance of each discussion with each EEOC Claimant regarding

 the EEOC and Mach Mining’s conciliation efforts.” Another six topics (topics 1-6) deal with the

 scope or sufficiency of EEOC’s investigation of the underlying Charge. Topic six reads, “Factual

 findings of the Field Investigator(s) who investigated the Charge of Discrimination.”

        Mach has also used EEOC’s alleged deficiencies in conciliation as a basis for objecting and

 not providing full answers to discovery. For example, EEOC’s third interrogatory asks Mach for

 certain information about each individual employed by Mach. Among other objections Mach stated

 the following:

        Defendant further objects to this Interrogatory to the extent it requests information
        related to claims of individuals EEOC failed to investigate, reach a determination
        upon and/or conciliate because EEOC is not permitted to use discovery as a fishing
        expedition to uncover additional alleged violations. See EEOC v. CRST Van
        Expedited, Inc., 670 F.3d 897, 914-25 (8th Cir. 2012)….

 Mach also purported to rely on the CRST decision in objecting to Interrogatories 4, 6, 7, 9,

 10, 11, 14 and 15. See Defendant’s Response to EEOC’s First Set of Interrogatories,

 attached as Exhibit E. Mach also relied on this objection in responding to EEOC’s requests

 for production of documents 2-19, 23, 26, 29-30, 32 and 38. See Defendant’s Response to

 EEOC’s First Request for Production of Documents, attached as Exhibit F. In all, Mach

 made thirty-four objections to EEOC’s written discovery based on alleged deficiencies in

 EEOC’s conciliation efforts. Mach thus is using EEOC’s supposed failure to conciliate as a

 basis both for issuing burdensome discovery to EEOC and for refusing to provide EEOC

 with relevant information responsive to EEOC’s discovery requests.

                                            ARGUMENT

 I.      The Summary Judgment Standard

        To prevail on a motion for summary judgment, the moving party must demonstrate that

 “there is no genuine dispute as to any material fact and the movant is entitled to judgment as a


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 matter of law.” Fed. R. Civ. P. 56(a). “[A]ll facts and all reasonable inferences” must be viewed “in

 the light most favorable to [the nonmoving party].” Elkhatib v. Dunkin Donuts, Inc., 493 F.3d 827,

 829 (7th Cir. 2007). “[S]ummary judgment is appropriate and – in fact, is mandated – where there

 are no disputed issues of material fact and the movant must prevail as a matter of law.” Dempsey v.

 Atchison, Topeka & Santa Fe Ry. Co., 16 F.3d 832, 836 (7th Cir. 1994). Whether a court can review

 the adequacy of EEOC’s conciliation is just such a question because it does not turn on any issue of

 disputed fact.

 II.     Mach’s “Failure to Conciliate” Affirmative Defense Can Be Resolved as a Matter of
         Law Because EEOC’s Conciliation Efforts Are Beyond the Scope of Judicial Review

         A.       EEOC’s Administrative Duties Prior to Filing Suit Against an Employer
                  Under Title VII

         Sections 706 (b) and 706(f)(1) of Title VII, 42 U.S.C. § 2000e-5(b), (f)(1), set forth certain

 actions the Commission must perform prior to filing suit against an employer. Under Section

 706(b), 42 U.S.C. § 2000e-5(b), when the Commission receives a charge it must serve the charge on

 the employer and investigate the charge. If the Commission determines after the investigation that

 there is reasonable cause to believe that the charge is true, the Commission must then attempt to

 eliminate the unlawful employment practice “by informal methods of conference, conciliation, and

 persuasion. Nothing said or done during . . . such informal endeavors may be made public . . . in a

 subsequent proceeding.” Id. Under Section 706(f)(1), 42 U.S.C. § 2000e-5(f)(1), if “the Commission

 has been unable to secure from the respondent a conciliation agreement acceptable to the

 Commission, the Commission may bring a civil action.”

         B.       The APA Limits Judicial Review of Agency Actions

         It is clear what procedures the Commission is required to follow under Title VII prior to

 filing suit, but not all actions (or failures to act) by the Commission (like other federal agencies) are

 subject to judicial review. Indeed, the APA, 5 U.S.C. §§ 701-08, severely limits the types of agency

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 actions that are subject to judicial review. Under the APA only “agency action made reviewable by

 statute and final agency action for which there is no other adequate remedy in court are subject to

 judicial review.” 5 U.S.C. § 704. Moreover, the APA explicitly prohibits judicial review of “agency

 action committed to agency discretion by law.” 5 U.S.C. §701(a)(2).

          In Caterpillar, the Seventh Circuit granted interlocutory appeal to determine the reviewability

 of EEOC’s pre-suit administrative reasonable cause finding. The court addressed the following

 question certified by the District Court judge:

          In determining whether the claims in an EEOC complaint are within the scope of
          the discrimination allegedly discovered during the EEOC’s investigation, must the
          court accept the EEOC’s Administrative Determination concerning the alleged
          discrimination discovered during its investigation, or instead, may the court itself
          review the scope of the investigation?

 409 F.3d at 832. The Seventh Circuit’s answer was that the District Court must accept the scope

 described in EEOC’s Administrative Determination and may not itself review the scope of the EEOC’s

 underlying investigation. Id. at 833.

          In support of its conclusion, the Seventh Circuit in Caterpillar relied exclusively on cases

 decided under the APA: FTC v. Standard Oil Co. of California, 449 U.S. 242, 243 (1980); Borg-Warner

 Protective Servs. Corp. v. EEOC, 245 F.3d 831, 836 (D.C. Cir. 2001) and Stewart v. EEOC, 611 F.2d

 679, 683 (7th Cir. 1979). The Seventh Circuit is not the only court to conclude that reasonable cause

 determinations are not subject to judicial review under the APA. See Am. Tel. and Tel. v. EEOC, 270

 F.3d 973, 976, (D.C. Cir. 2001); Georator Corp. v. EEOC, 592 F.2d 765, 767 (4th Cir. 1979)(EEOC

 determination of reasonable cause is not “final agency action” because “standing alone it is lifeless

 and can fix no obligation nor impose any liability on the plaintiff.”) There is no reason to doubt that

 the Seventh Circuit would also rely on the APA in analyzing whether EEOC’s conciliations are

 subject to court review and reach the same conclusion—that they are not subject to judicial review.




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                 1.      Commission Conciliations Are Not “Final Agency Actions” and
                         Therefore Are Not Subject to Judicial Review Under the APA

         To constitute a “final agency action” under the APA, the agency action must satisfy two

 conditions: “First, the action must mark the ‘consummation’ of the agency’s decisionmaking

 process, (citation omitted) it must not be of a merely tentative or interlocutory nature. And second,

 the action must be one by which ‘rights or obligations have been determined,’ or from which ‘legal

 consequences will flow.’ (citation omitted).” Bennett v. Spear, 520 U.S. 154, 177-78 (1997). The

 Supreme Court has made clear that neither an agency’s determination that conditions precedent to

 its filing suit have been satisfied nor an agency’s initiation of enforcement proceedings is “final

 agency action” subject to judicial review. Standard Oil, 449 U.S. at 241-42, n. 13 (“[T]he averment of

 reason to believe is a prerequisite to a definitive agency position on the question whether Socal

 violated the Act, but itself is a determination only that adjudicatory proceedings will commence.”);

 Del Marcelle v. Brown County Corp., 680 F.3d 887, 905 (7th Cir. 2012)(“[R]eview is limited to the

 agency’s final decision. Issuing a complaint is not reviewable even though it portends a multi-year

 adjudicative process that may cost millions to resolve.”). See also Herman v. Excel, 37 F. Supp. 2d

 1117, 1120-21 (C.D. Ill. 1999) (holding that the Secretary of Labor’s decision to sue the defendant

 was not final agency action).

         Like the complaint the FTC issued in Standard Oil, EEOC complaints in federal court merely

 initiate proceedings and have no legal or practical effect on the respondent, except to impose the

 burden of responding to the allegations. The burden of litigation, however, is not sufficient to make

 the action final agency action for APA purposes. “Although this burden certainly is substantial, it is

 different in kind and legal effect from the burdens attending what heretofore has been considered to

 be final agency action.” Standard Oil, 449 U.S. at 242.

         At least one court has already recognized that “the failure of conciliation was not final” for

 the same reasons that a reasonable cause determination does not constitute “final agency action.”
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 See Circuit City v. EEOC, 75 F. Supp. 2d 491, 509 (E.D. Va. 1999). While the position that EEOC’s

 notice of failure of conciliation is not “final agency action,” subject to court review has rarely been

 addressed, this is likely because EEOC has rarely made this argument. The unambiguous statutory

 language of the APA and its application under Title VII should not be ignored merely because this

 argument is new or unusual.

                 2.      Commission Conciliations Are Not Intended for Judicial Review as
                         Title VII Commits Them to Commission Discretion

         Even if EEOC’s determination regarding conciliation were determined to constitute “final

 agency action,” or EEOC’s filing of suit was understood as a final agency action that made

 reviewable prior preliminary actions under Section 704 of the APA, EEOC’s determination

 regarding conciliation is nevertheless beyond court review because it is “committed to agency

 discretion by law.” 5 U.S.C. § 701(a)(2). Three provisions of Title VII make clear that the

 conciliation process is committed to agency discretion and not intended for judicial review.

         First, Section 706(f)(1) of Title VII, 42 U.S.C. § 2000e-5(f)(1) establishes that the purpose of

 conciliation is “a conciliation agreement acceptable to the Commission,” and permits the Commission to

 bring a civil action in the absence of such an agreement. (Emphasis added). And second,

 conciliation is also described by the statute as a process using “informal methods of conference,

 conciliation and persuasion.” 42 U.S.C. § 2000e-5(b). Title VII contains no other guidance about

 what is necessary to satisfy the conciliation process.

         The Supreme Court has held that where a statutory provision lacks a meaningful standard

 against which to judge the agency’s exercise of discretion, the agency’s actions are not subject to

 judicial review. See Heckler v. Chaney, 470 U.S. 821, 830 (1985). When the Supreme Court examined

 Section 102(c) of the National Security Act, which allows termination of an agency employee

 whenever the Director “shall deem such termination necessary or advisable,” the Court held that

 because the provision uses the phrase ‘deem necessary’ as opposed to ‘is necessary,’ it “fairly exudes
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 deference to the Director, and appears to us to foreclose the application of any meaningful judicial

 standard of review and . . . thus strongly suggests that its implementation was ‘committed to agency

 discretion by law.’” Webster v. Doe, 486 U.S. 592 (1988). Like the statutory provision at issue in

 Webster, both the language of Section 706(f)(1) of Title VII (“conciliation agreement acceptable to

 the Commission”) and the language of Section 706(b) of Title VII (“informal methods of

 conference, conciliation, and persuasion”) do not allow for a meaningful standard against which to

 judge the EEOC’s exercise of discretion during conciliation.

         Third, Section 706 of Title VII itself makes conciliation a confidential proceeding that is not

 to be used in a subsequent proceeding, again committing conciliation to the agency’s discretion. The

 statute provides, in part, “Nothing said or done during and as a part of such informal endeavors may

 be made public by the Commission, its officers or employees, or used as evidence in a subsequent

 proceeding without the written consent of the persons concerned.” 42 U.S.C. § 2000e-5(b). And the

 statute provides for criminal penalties if information is made public in violation of it. Id.

         At least three courts have found that without the consent of the Charging Party, defendants

 could not discover documents and facts from conciliation in subsequent litigation even when the

 requesting party was also a party to the conciliation. EEOC v. Scrub, Inc., No. 09 C 4228, 2010 WL

 2136807, at *6 (N.D. Ill. May 25, 2010) (court notes that charging party has not consented to

 disclosure and rules EEOC need not disclose communications or proposals made during

 conciliation); EEOC v. Hotspur Resorts Nevada, Ltd., No. 2:10–cv–02265, 2012 WL 2415541, at *5 (D.

 Nev. June 26, 2012) (court sustains EEOC objection to production of conciliation notes where the

 charging parties had not consented to disclosure); EEOC v. Olsten Staffing, 627 F. Supp. 2d 972, 975-

 976 (W.D. Wis. 2009) (denying discovery regarding conciliation materials in the underlying Charge

 because neither the charging party the EEOC had consented in writing to their use in subsequent

 proceedings.)


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          The bar on use of things “said or done” in conciliation is unyielding; so much so that the

  Fifth Circuit has even upheld the dismissal of an action by EEOC to enforce an oral conciliation

  agreement as it would necessarily require an examination of things said and done in conciliation in a

  subsequent proceeding without the written consent of a concerned person. EEOC v. Philip Services

  Corp., 635 F.3d 164 (5th Cir. 2011); see also Olitisky v. Spenser Gift, Inc., 842 F.2d 123,126-27 (5th Cir.

  1988) (sua sponte reversing judgment in favor of the plaintiff because the plaintiff had been allowed to

  introduce into evidence a statement obtained by EEOC during the EEOC’s conciliation efforts).

  Judicial consideration of Mach’s “failure to conciliate” affirmative defense requires disclosure in a

  subsequent proceeding of what was said or done during conciliation, and that is in direct

  contravention of the statute.

           Taken as whole, these provisions of Title VII compel the conclusion that Congress designed

  Title VII to leave conciliation to the agency’s discretion and did not want courts to review those

  confidential efforts. Just as the Federal Rules of Civil Procedure make settlement discussions

  confidential, shielding conciliation from subsequent judicial review appears deliberately designed to

  promote settlement. Branch v. Phillips Petroleum Co. v. EEOC 638 F.2d 873, 880-81 (5th Cir. 1981)

  (“[D]isclosure of conciliation materials, even to the parties, would discourage negotiated settlement

  and frustrate the intention of Congress.”). And Congress left the courts to decide the merits of any

  claim where conciliation proves unsuccessful.

          The Commission, however, does not underestimate nor dispute the importance Congress

  placed on conciliation. Id. 1 But the mere fact that Congress placed great importance on conciliation

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     Indeed, the Commission views conciliation as an important tool for enforcement. In fiscal year 2011, the
  year in which attempts were made to conciliate this case, EEOC resolved 1,351 cases through conciliation,
  approximately 45% of all the cases in which the Commission found cause. Fiscal year 2011 was a typical year
  for the Commission in that it recovered much more money for victims of discrimination through its
  administrative process than through litigation – approximately $364,700,000 administratively, $91,000,000
  through litigation efforts. EEOC makes statistics regarding it enforcement efforts publicly available on its
  web site: www.eeoc.gov. The relevant tables are attached as Exhibit G.

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  does not mean that it intended to have courts review the process. While the court can review

  whether EEOC offered conciliation by reviewing EEOC’s Letter of Determination and Notice of

  Failure of Conciliation, more searching review of the conciliation process flies in the face of Title

  VII’s statutory language.

          C.      Title VII’s Statutory Requirement of Conciliation as a Precursor to Suit Does
                  Not Open Conciliation to Judicial Review

          Because Title VII includes “conciliation” as a requirement prior to suit, conciliation has been

  described as a “condition precedent” to litigation by the Commission. EEOC v. Service Temps, Inc.,

  679 F.3d 323, 332 (5th Cir. 2012). But the fact that conciliation is a statutory condition precedent

  does not transform conciliation into a reviewable agency action once the agency files a case against

  an employer. Caterpillar recognized that a reasonable cause determination is a prerequisite to suit

  under Title VII but held that “probable cause to sue is generally and in this instance not judicially

  reviewable.” Caterpillar, 409 F.3d at 833. Caterpillar thus holds that the mere fact that an agency

  action is a prerequisite to suit under Title VII does not make the agency action judicially reviewable.

  And Caterpillar’s analysis illustrates that, while Title VII sets out the required pre-suit administrative

  process (including conducting an investigation and issuing a reasonable cause determination), the

  APA provides guidance as to reviewability of those required pre-suit administrative actions.

          The APA’s limitations on judicial review typically come up when a private party challenging

  agency action files suit against the agency and relies on the APA as the basis for judicial review. This

  case – like Caterpillar—is different, however. Here an agency (EEOC) has filed suit against a private

  party, and the private party (Mach) has raised an affirmative defense (failure to conciliate) that cites

  only Title VII (not the APA) to claim that EEOC overstepped its authority. But Caterpillar makes

  clear that the APA’s limitations on judicial review of agency action work in conjunction with Title




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  VII. Title VII sets forth the pre-suit administrative process that EEOC must follow, and the APA

  informs the court regarding the scope of review.

          Neither the APA nor Title VII provides for judicial review of conciliation – and the filing of

  suit by EEOC does not make reviewable what otherwise could not be reviewed. The failure of

  conciliation is not a final agency action, and Title VII commits conciliation to agency discretion by

  establishing that conciliation is: i) “informal;” ii) “confidential;” and iii) intended to result in an

  agreement “acceptable to the Commission.” Describing conciliation as a condition precedent to suit

  does not change any of this statutory structure.

          D.      The Scope of EEOC’s Investigation and Reasonable Cause Determination
                  Are Not Reviewable

          While Mach casts its affirmative defense as a challenge to EEOC’s conciliation efforts, Mach

  in fact is seeking an extensive review of not only EEOC’s conciliation efforts, but its investigation

  and reasonable cause finding as well. See Exhibit E, Defendant’s Response to EEOC’s First Set of

  Interrogatories, Objections to Interrogatories 3-4, 6-7, 9-11, 14-15; Exhibit D, Notice of Deposition

  of EEOC. To evaluate Mach’s contention that EEOC failed to investigate the claims of any victims

  other than Petkas, the Court would have to review the entire scope of EEOC’s investigation. But

  Caterpillar, 409 F.3d 831, expressly forbids a court from engaging in this type of review. 2

          Caterpillar argued that the court had to review EEOC’s investigation to determine the

  proper scope of the lawsuit. It claimed that EEOC’s investigation was limited to one harasser and

  that EEOC’s complaint alleging a pattern or practice was beyond the scope of the investigation. See

  Def.’s Motion for Certification of Issues for Appeal and Stay of Class-Based Discovery at pp. 7-9,

  12, EEOC v. Caterpillar Inc., Civil Action No. 03 C5636 (N.D. Ill. Nov. 15, 2004) (attached as Exhibit

  H). The Seventh Circuit rejected these arguments, holding that “[i]f courts may not limit a suit by




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  the EEOC to claims made in the administrative charge, they likewise have no business limiting the

  suit to claims that the court finds to be supported by the evidence obtained in the Commission’s

  investigation.” Caterpillar, 409 F.3d at 833.

          Mach’s contention that this Court can review EEOC’s investigation to determine which

  victims’ claims EEOC investigated and should be included in this suit violates the holding of

  Caterpillar. The language of the LOD at issue in Caterpillar, finding “reasonable cause to believe that

  Caterpillar discriminated against [the Charging Party] and a class of female employees, based on their

  sex,” id. at 832, is similar to the language of the LOD here, where EEOC found that Mach

  “discriminated against Charging Party and a class of female applicants, because of their sex, in that

  Respondent failed to recruit and hire them, in violation of Title VII.” Exhibit B. After the Seventh

  Circuit’s decision in Caterpillar, EEOC brought claims on behalf of all women sexually harassed at

  the facility where the charging party worked, not just those victims identified during the

  investigation or harassed by the same perpetrator who harassed the charging party.

          Likewise, the EEOC here should be allowed to include as a claimant any woman Mach

  discriminatorily failed to hire, including those identified during discovery. See EEOC v. Harvey L.

  Walner & Assocs., 91 F.3d 963, 968 (7th Cir. 1996) (acknowledging “EEOC’s ability to challenge

  discrimination affecting unidentified members of a known class”); EEOC v. UPS, 94 F.3d 314, 318

  (7th Cir. 1996) (recognizing EEOC’s authority “to bring an action on behalf of a class of unidentified

  individuals”). Caterpillar precludes the Court from examining the scope of EEOC’s investigation to

  limit EEOC’s claim, encompassed in the reasonable cause determination, that Mach discriminated

  against a class of female applicants.




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   EEOC has evidence to show that the agency both investigated and conciliated this case on a class basis.
  EEOC objects to such review and is not providing such evidence now but does not waive its right to do so if
  EEOC’s position is rejected.

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          E.      Judicial Review of Conciliation Would Hamper the Agency’s Process and
                  Interfere with the Agency’s Ability to Serve the Public Interest

          Mach’s “failure to conciliate” affirmative defense and its attempt to involve this Court in the

  agency’s pre-litigation administrative investigation asks this Court to create a standard for what

  EEOC must do in its investigation and conciliation efforts, right down to dictating whom EEOC

  must locate during its investigation (all possible victims) and the particular claims EEOC must

  conciliate (the specific allegations of each individual victim). To satisfy this level of scrutiny of its

  investigations and conciliations, EEOC would have to engage in nothing less than full-scale

  discovery before the agency could file suit. Not only does this level of review run completely afoul

  of the APA and Title VII, it substitutes the judgment of the courts for the judgment of the agency as

  to how the agency should allocate its resources during its pre-litigation administrative process, a

  result that effectively would make the court—and not the agency—responsible for determining

  EEOC’s administrative priorities.

                  1.       Past Review of the Content of EEOC’s Conciliations is Inconsistent
                           with EEOC’s Congressionally Assigned Role

          EEOC is certainly aware that some courts have reviewed EEOC’s conciliations to determine

  whether EEOC engaged in good faith efforts to conciliate. While EEOC does not dispute that it

  should carry out its statutory obligations, including conciliation, in good faith, that does not mean

  that courts are empowered to review whether EEOC has done so. Just as EEOC has a duty to

  conciliate in good faith, it presumably also has a duty to investigate and issue reasonable cause

  determinations in good faith. But it is well-established that courts cannot review EEOC’s cause

  determinations to review whether they were issued with good faith.

          Nor does EEOC dispute that a court can review whether EEOC offered a respondent the

  opportunity to conciliate the unlawful employment practices at issue. EEOC v. Sherwood Med. Indus.,

  Inc., 452 F. Supp. 678 (M.D. Fla. 1978) (dismissing EEOC sex discrimination claim where claim was

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  not included in reasonable cause determination and EEOC did not offer opportunity conciliate

  claim); EEOC v. Westcavo, 372 F.Supp. 985 (D. Md. 1974) (dismissing claims for which there was no

  reasonable cause determination or attempt to conciliate, but noting that “the language [of Title VII]

  requires only that the EEOC provide the opportunity for conciliation”). But, consistent with

  Caterpillar, this review is limited to examining the LOD, which invites the respondent to conciliate

  and identifies the unlawful employment practices that will necessarily be the subject of the

  conciliation, and the Notice of Failure of Conciliation, which documents EEOC’s determination

  that any further conciliation efforts will be futile in obtaining an agreement acceptable to EEOC.

          Courts that have reviewed the adequacy of EEOC’s conciliation efforts have merely

  assumed they can do so—without citing any statutory basis for such review. For example, in

  EEOC v. Griffin Wheel, 360 F. Supp. 424, 426 (N.D. Ala. 1973), one of the earliest cases to review

  EEOC’s obligation to conciliate in good faith, the court stated, without citation, that in enacting the

  1972 amendments to Title VII, Congress emphasized the duty of the Commission to make a good

  faith effort to secure voluntary compliance with the statute. Id. The court then asserted without

  explanation that it could examine whether EEOC engaged in a good faith effort to conciliate. Id.

          EEOC v. Zia, 582 F.2d 527 (10th Cir. 1978), one of the first circuit court cases to address

  EEOC’s conciliation obligations, held that EEOC is required to conciliate in good faith. Zia relied

  on a statement from the Conference report to the House of Representatives’ version of the 1972

  amendments to Title VII: “The conferees contemplate that the Commission will continue to make

  every effort to conciliate as is required by existing law. Only if conciliation proves to be impossible

  do we expect the Commission to bring action in federal district court to seek enforcement.” Id. at

  533 (quoting 118 Cong.Rec. H1861 (Mar. 18, 1972)). The Zia court recognized that it should not

  examine the details of the parties’ offers and counteroffers in conciliation. Id. at 533. Nonetheless,

  the court held that EEOC failed to conciliate in good faith because in its view, EEOC should have


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  provided the respondent with more time before it terminated conciliation. Id. at 534. Zia does not

  explain the basis for its position that it can review whether EEOC acted in good faith and such

  specific details as the length and timing EEOC’s conciliation efforts. Id.

          While Zia and other courts have cited a statement from the House conference report

  expressing the conferees’ view that EEOC should attempt conciliation until it proves impossible, it

  does not follow from this language that Congress intended courts to substitute their judgment for

  EEOC’s as to whether it was possible to secure an agreement acceptable to EEOC. Indeed, other

  legislative history suggests the contrary.   “An effort by the Senate in 1972 to require judicial review

  of the Commission’s determinations of ‘acceptable’ agreements was soundly rejected. 118 Cong.Rec.

  3807 (Feb. 14, 1972). Such an examination of the conciliation process was deemed unworkable. Id.

  at 3807.” EEOC v. Mitsubishi Motor Mfg. of Am., Inc., 990 F. Supp. 1059 (C.D. Ill. 1998); EEOC v.

  Sears, Roebuck & Co., 504 F. Supp. 241, 262 (N.D. Ill 1980). Moreover, Congress highlighted the

  informal nature of conciliation by amending the statute to provide that “Nothing said or done as

  part of such informal endeavors shall be made public.” 42 U.S.C. § 2000e-5(b). Previously, this

  provision did not include the word informal and said, “nothing said or done as part of such

  endeavors....” Title VII of Civil Rights Act of 1964, Pub. Law No. 88-352, § 706(a) 78 Stat. 259

  (1964) (prior to 1972 amendments). Congress’s decision to amend the statute to reiterate the

  informality of conciliation suggests that conciliation is not a process intended for judicial review.

          While judicial review of EEOC’s conciliations is not grounded in any statutory language,

  EEOC historically did not challenge this type of review in the Seventh Circuit because courts in this

  circuit typically followed EEOC v. Keco Indus., 748 F.2d 1097 (6th Cir. 1984) and employed a

  deferential standard of review of EEOC’s conciliation efforts. See e.g., EEOC v. General Motors Corp.,

  826 F.Supp. 1122 (N.D.Ill. 1993). EEOC’s conciliation efforts were not frequently challenged in

  the Seventh Circuit and even when they were, did not lead to dismissal of EEOC’s case. The

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  decisions in EEOC v. CRST changed this landscape and has led to employers more frequently and

  vigorously challenging EEOC’s conciliation efforts, particularly in cases where EEOC seeks relief

  for a group of victims, such that discovery and motion practice regarding conciliation have

  overtaken the litigation of these cases and overshadowed the underlying discrimination claims. The

  increased efforts to micro-manage EEOC’s conciliation process has caused the office to reexamine

  the basis for judicial review of conciliation and conclude, consistent with Caterpillar, that judicial

  review is not authorized based on the language of Title VII itself or the APA.

                  2.      Title VII Does Not Require EEOC to Identify and Individually
                          Conciliate on Behalf of Every Potential Claimant

          Just as Title VII contains no standard of review for the content of conciliation, nothing in

  Title VII suggests that EEOC must put itself in the shoes of each potential claimant during

  conciliation. Quite the contrary. Without a single mention of individual claimants, Title VII

  requires that EEOC “endeavor to eliminate any such alleged unlawful employment practice by informal

  methods of conference, conciliation, and persuasion.” 42 U.S.C. § 2000e-5(b) (emphasis added).

          A long line of Supreme Court cases recognizes that EEOC’s claim is distinct from that of its

  claimants. The Supreme Court held in General Telephone of the Northwest v. EEOC, 446 U.S. 318, 331

  (1980), that “the EEOC is authorized to proceed in a unified action and to obtain the most

  satisfactory overall relief even though competing interests are involved and particular groups may

  appear to be disadvantaged.” And in EEOC v. Waffle House Inc., 534 U.S. 279 (2002), the Court

  validated the scope of General Telephone, stating: Title VII “makes the EEOC master of its own case

  and confers on the agency the authority to evaluate the strength of the public interest at stake.” Id.

  at 763 . “The EEOC does not stand in the employee’s shoes.” Id. at 766; see also In re Bemis, 279

  F.3d 419, 422 (7th Cir. 2002) (“[T]he EEOC’s primary role is that of a law enforcement agency and it

  is merely a detail that it pays over any monetary relief obtained to the victims of the defendant’s

  violation.”).
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          There is no serious argument an employer like Mach must know (and therefore EEOC must

  identify) every individual for whom EEOC seeks relief to make a conciliation proposal or evaluate a

  demand by EEOC. While Mach and some courts might view such a process as ideal, parties in

  EEOC litigation regularly resolve cases where all the claimants are not known. Courts routinely

  enter consent decrees resolving EEOC cases (as well as even larger Rule 23 class actions) where a

  gross settlement amount is agreed upon, the class of beneficiaries is described generally, and their

  individual claims are determined by EEOC in a claims procedure. See Donald Livingston, EEOC

  Litigation and Charge Resolution 805-10 (Charles A. Shanor, et al. eds., 2005).

                  3.      Judicial Review of EEOC’s Conciliation Efforts Distracts from Title
                          VII’s Purpose of a Judicial Determination of the Merits

          Permitting judicial review of the content of EEOC’s investigation and conciliations would

  allow employers, including recalcitrant employers who never intended to conciliate, to delay

  resolution of the ultimate question of whether they violated Title VII. The Supreme Court relied on

  just such a concern to reject an employer’s suggestion that courts should review the adequacy of a

  charge before enforcing an administrative subpoena: “To construe the notice requirement as

  respondent suggests would place a potent weapon in the hands of employers who have no interest

  in complying voluntarily with the Act, who wish instead to delay as long as possible investigations by

  the EEOC.” EEOC v. Shell Oil, 466 U.S. 54, 67 (1984). Judge Shadur expressed the same concern

  regarding an employer’s attempt to litigate EEOC’s reasonable cause finding in EEOC v. Chicago

  Miniature Lamp Works, 526 F. Supp. 974, 975 (N.D. Ill. 1981): “That line of inquiry would deflect

  the efforts of both the Court and the parties from the main purpose of this litigation: to determine

  whether [the employer] has actually violated Title VII.”

          This concern with delay and distraction applies equally to the conciliation context. As Judge

  Shadur said, “Acceptance of [the defendant’s] theory would entitle every Title VII defendant to

  litigate as a preliminary matter whether EEOC had a reasonable basis for its determination . . . .
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  [This determination] would effectively make every Title VII suit a two-step action: First parties

  would litigate the question of whether EEOC had a reasonable basis for its initial finding and only

  then would the parties proceed to litigate the merits of the action.” Id. Similarly, if conciliation is

  subject to judicial review, employers could challenge the adequacy of the information that EEOC

  provided the employer during conciliation, giving recalcitrant employers who never intended to

  conciliate an incentive to demand more and more information from EEOC to try to set up a failure

  to conciliate defense, slowing conciliation while the claims grow stale. Further, as this case has

  shown, if conciliation is an issue in the litigation, it delays discovery and the resolution of the

  ultimate question assigned to this court —whether Mach discriminated against female applicants.

                   4.       EEOC’s LOD and Notice of Failure of Conciliation Show that the
                            Agency Engaged in the Required Conciliation Prior to Filing Suit

          Just as Caterpillar determined that review of the agency’s Letter of Determination is all that is

  required to satisfy the agency’s reasonable case requirement prior to litigation, review of the agency’s

  Letter of Determination, which invites the Respondent to conciliate and indicates the employment

  practices that will necessarily be the subject(s) of the conciliation, and review of the agency’s Notice

  of Failure of Conciliation, which documents the Commission’s determination that any further

  conciliation efforts will be futile in obtaining an agreement acceptable to the Commission, are all

  that is required to establish that the agency satisfied the conciliation condition precedent to bringing

  suit. Caterpillar, 409 F.3d at 833. See also U.S. v. Inter’l Assn of Bridge, Structural and Ornamental Iron

  Workers, 438 F.2d 679 (7th Cir. 1971) (“The only issue for the Court, therefore, is whether there has

  been a violation of the statute and not whether [the agency] had reasonable cause to believe there

  was a violation. . . . A sufficient complaint . . . will clearly demonstrate the basis of the [agency’s]

  reasonable cause to believe.”) Examination of these documents here shows that EEOC met its

  conciliation obligation and permits the court to move forward with the merits of EEOC’s claim.



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                                         CONCLUSION
         Because the Letter of Determination and Notice of Failure of Conciliation establish that

  EEOC offered Mach Mining the opportunity to conciliate EEOC’s failure to hire claim on behalf of

  the Charging Party and a class of female applicants and that conciliation was unsuccessful, this Court

  should grant summary judgment to EEOC now on Mach’s “failure to conciliate” affirmative defense

  and instruct the parties to proceed with discovery on the merits of EEOC’s claim.

                                         Respectfully Submitted,


  s/John C. Hendrickson (with consent)                  s/Gregory Gochanour (with consent)
  John C. Hendrickson                                   Gregory Gochanour
  Regional Attorney                                     Supervisory Trial Attorney

                                                        s/ Ethan M. M. Cohen
                                                        Ethan M. M. Cohen
                                                        Deborah Hamilton
                                                        Ann Henry
                                                        Trial Attorneys


  Ethan M. M. Cohen
  ARDC #6206781
  United States Equal Employment
          Opportunity Commission
  500 W. Madison, #2000
  Chicago, IL 60661
  (312) 869-8104
  ethan.cohen@eeoc.gov




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                               CERTIFICATE OF SERVICE

  I, Ethan Cohen, an attorney, certify that a copy of the foregoing PLAINTIFF EEOC’S
  MOTION FOR SUMMARY JUDGMENT ON DEFENDANT’S FAILURE TO
  CONCILIATE AFFIRMATIVE DEFENSE, was served on all parties of record through the
  Court’s electronic case management system on July 30, 2012.

                                   Respectfully Submitted,

                                          s/ Ethan M. M. Cohen
                                          Ethan M. M. Cohen
                                          Trial Attorney
  Ethan M. M. Cohen
  ARDC #6206781
  United States Equal Employment
          Opportunity Commission
  500 W. Madison, #2000
  Chicago, IL 60661
  (312) 869-8104
  ethan.cohen@eeoc.gov
